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 Not for Publication

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



  DANIEL D’AMBLY, et al.,
                Plaintiffs,
                                                                 Civil Action No. 20-12880
         v.                                                              OPINION

  CHRISTIAN EXOO a/k/a ANTIFASH
  GORDON, et al.,
                Defendants.



 John Michael Vazquez, U.S.D.J.

        In this case, Plaintiffs, purported far right activists and their family members, take aim at

 Defendant Christian Exoo, a purported far left activist, and others for their alleged doxing

 campaigns because of Plaintiffs’ political views. The overarching issue is whether the doxing

 crossed a legal line into unlawful action. Plaintiff Daniel D’Ambly (“Plaintiff” or “D’Ambly”)

 also asserts a stand-alone malpractice claim against Defendant Cohen, Weiss, and Simon LLP

 (“CWS”), the law firm that represented D’Ambly in a grievance action after he was terminated

 from his job because of Defendants’ doxing.

        Presently before the Court are CWS’s motions to dismiss and for sanctions. D.E. 105, 120.

 CWS seeks for the Court to dismiss the malpractice claim from the Second Amended Complaint

 (“SAC”) and sanction D’Ambly for bringing the frivolous claim in the First Amended Complaint

 (“FAC”). D’Ambly filed a brief in opposition to the motion for sanctions, D.E. 121, to which
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 CWS replied, D.E. 126. D’Ambly did not file a brief in opposition to CWS’s motion to dismiss.1

 The Court reviewed the parties’ submissions and decided the motions without oral argument

 pursuant to Fed. R. Civ. P. 78(b) and L. Civ. R. 78.1(b). For the reasons set forth below,

 Defendant’s motion to dismiss is GRANTED and the motion for sanctions is DENIED.

     I.      FACTUAL AND PROCEDURAL BACKGROUND

          For purposes of the pending motion, the Court does not retrace this case’s full factual and

 procedural history. This Court’s November 1, 2021 opinions granting CWS’s Rule 12(c) motion

 to dismiss (“MTD Opinion”), D.E. 97, and the remaining Defendants’ Rule 12(b)(6) motions to

 dismiss, D.E. 99, include a detailed recounting of the factual background of this matter. To the

 extent relevant to the instant motions, the Court incorporates the factual and procedural history

 from these prior opinions.

          D’Ambly’s initial Complaint largely addressed Exoo’s alleged doxing campaign. In Count

 XIII, however, D’Ambly asserted a claim for legal malpractice against CWS. See Compl, ¶¶ 154-

 61. CWS represented D’Ambly in a grievance matter that D’Ambly’s union filed on his behalf

 after D’Ambly was terminated from his job because of the alleged doxing campaign. Id. ¶ 48.

 D’Ambly does not allege that CWS was involved in any of the doxing efforts, and the other twelve

 counts, which pertain to the doxing itself, are not asserted against CWS. CWS subsequently

 answered the complaint. D.E. 12.




 1
  For purposes of this Opinion, the Court refers to CWS’s brief in support of its motion to dismiss
 (D.E. 120-1) as “CWS MTD Br.”; its brief in support of its motion for sanctions (D.E. 105-1) as
 “CWS Sanctions Br.”; Plaintiff’s brief in opposition to the motion for sanctions (D.E. 121) as “Plf.
 Opp.”; and CWS’s reply brief in further support of its motion for sanctions (D.E. 82) as “Def.
 Sanctions Reply.” Plaintiff’s opposition to CWS’s motion for sanctions addresses the plausibility
 of his malpractice claim against CWS, as pled in the Second Amended Complaint. As a result, the
 Court also considered Plaintiff’s arguments from his opposition brief in deciding the motion to
 dismiss.
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        On March 25, 2021, Plaintiffs filed the FAC, which includes allegations about doxing

 campaigns that Defendants waged against D’Ambly and additional Plaintiffs. But the allegations

 and malpractice claim against CWS in the FAC are unchanged from Plaintiff’s initial complaint.

 D.E. 66. CWS did not file an amended Answer. Instead, CWS filed a motion to dismiss, pursuant

 to Federal Rule of Civil Procedure 12(c), on April 22, 2021.2 D.E. 74.

        This Court granted CWS’s motion to dismiss.         The Court determined that because

 D’Ambly’s union retained CWS to represent Plaintiff as to the grievance, Section 301(b) of the

 Labor Management Relations Act (“LMRA”) bars D’Ambly from asserting a malpractice claim

 against CWS. MTD Opinion at 6-7. The Court also rejected D’Ambly’s multiple arguments that

 the Section 301(b) bar did not apply. As relevant here, the Court determined that D’Ambly failed

 to plausibly plead that he had an implied attorney-client relationship with CWS, id. at 7-8, and

 refused to accept D’Ambly’s argument that the Section 301(b) bar did not apply because the union

 was a captive labor organization, id. at 8-9. Although the Court doubted D’Ambly’s ability to do

 so because of the Section 301(b) bar, the Court granted D’Ambly leave to file an amended pleading

 to remedy the identified deficiencies. Id. at 10.

        Plaintiffs subsequently filed the SAC. In the SAC, Plaintiffs omits many claims that were

 dismissed. In Count VI, however, D’Ambly asserts a malpractice claim against CWS. SAC ¶¶

 196-203. The SAC otherwise pleads additional factual allegations, omits other factual allegations

 that Plaintiffs previously pled, asserts a new claim pursuant to Section 610 of the Labor




 2
   Defendants Christian Exoo, St. Lawrence University, Vijaya Gadde, and Twitter, Inc. also filed
 motions to dismiss the FAC pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6).
 D.E. 75, 78, 79. The Court addressed these motions through a separate opinion and order. D.E.
 99, 100. These Defendants also filed motions to dismiss the SAC, and Exoo filed a motion to
 strike and for sanctions. D.E. 112, 115-17, 119. Their motions remain pending, and the Court
 will address these motions in a separate opinion.
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 Management Reporting and Disclosure Act, and names two additional Defendants. On January

 17, 2022, CWS filed the instant motion to dismiss Count VI under Federal Rule of Civil Procedure

 12(b)(6). D.E. 120. CWS also filed a motion for sanctions, pursuant to Federal Rule of Civil

 Procedure 11, seeking sanctions against D’Ambly for including the malpractice claim in the FAC.

 D.E. 105.

    II.      MOTION TO DISMISS

             A. Legal Standard

          Federal Rule of Civil Procedure 12(b)(6) permits a court to dismiss a complaint that fails

 “to state a claim upon which relief can be granted[.]” Fed. R. Civ. P. 12(b)(6). For a complaint to

 survive dismissal under Rule 12(b)(6), it must contain sufficient factual matter to state a claim that

 is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

 Twombly, 550 U.S. 544, 570 (2007)). A claim is facially plausible “when the plaintiff pleads

 factual content that allows the court to draw the reasonable inference that the defendant is liable

 for the misconduct alleged.” Id. Further, a plaintiff must “allege sufficient facts to raise a

 reasonable expectation that discovery will uncover proof of her claims.” Connelly v. Lane Constr.

 Corp., 809 F.3d 780, 789 (3d Cir. 2016). In evaluating the sufficiency of a complaint, district

 courts must separate the factual and legal elements. Fowler v. UPMC Shadyside, 578 F.3d 203,

 210-211 (3d Cir. 2009). Restatements of the elements of a claim are legal conclusions, and

 therefore, are not entitled to a presumption of truth. Burtch v. Milberg Factors, Inc., 662 F.3d 212,

 224 (3d Cir. 2011). The Court, however, “must accept all of the complaint’s well-pleaded facts as

 true.” Fowler, 578 F.3d at 210.




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            B. Analysis

        CWS contends that the malpractice claim must be dismissed because D’Ambly “simply

 reiterated the identical claim of legal malpractice [in the SAC] . . . , based upon the identical facts

 alleged in the First Amended Complaint.” CWS MTD Br. at 2. The Court agrees. Although there

 are minor changes to the factual allegations that address Exoo’s doxing of D’Ambly and

 D’Ambly’s termination from the Daily News, the substantive allegations relating to the

 malpractice claim are the same. D’Ambly still alleges that his union filed a grievance on his behalf

 and that the union retained CWS. SAC ¶ 70. Likewise, D’Ambly’s allegation that CWS failed to

 adequately investigate the reason for his termination are also unchanged. Compare FAC ¶¶ 69-73

 with SAC ¶¶ 70-76. Because the factual allegations are identical, the malpractice claim is

 dismissed for the same reasons discussed in the MTD Opinion. Specifically, because “§ 301 of

 the LMRA immunizes attorneys employed by or hired by unions to perform services related to a

 collective bargaining agreement from suit for malpractice.” Carino v. Stefan, 376 F.3d 156, 162

 (3d Cir. 2004).

        In his opposition to CWS’s motion for sanctions, D’Ambly relies on new allegations, and

 argues that CWS did not represent him because of a breach or violation of the collective bargaining

 agreement. D’Ambly continues that as a result, Section 301(b) does not bar his claims against

 CWS. In making this argument, D’Ambly alleges that CWS knew that D’Ambly’s union and the

 decision to terminate him were influenced by “anarchist extremists” and that CWS “remained

 silent when they [sic] were obligated to inform D’Ambly to seek independent counsel.” Plf. Opp.

 at 4; see also id. at 12 (alleging that CWS knew of communications between a union member and

 Exoo). D’Ambly also contends that his termination did not arise out of his union’s collective

 bargaining agreement because he was the victim of workplace “stranger violence.” Id. at 8.



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 However, these allegations and many others raised in D’Ambly’s opposition brief, do not actually

 appear in the SAC.3 This Court has already explained that D’Ambly cannot amend his pleading

 through a brief. MTD Opinion at 7-8 (quoting Pa. ex rel. Zimmerman v. PepsiCo, Inc., 836 F.2d

 173, 181 (3d Cir. 1988)). As a result, the Court does not rely on this information in deciding

 CWS’s motion. But even if the Court were to consider Plaintiff’s purportedly new allegations in

 his brief, they do not alter D’Ambly’s allegation that the union retained CWS to represent

 D’Ambly for a grievance related to his termination. SAC ¶ 70. Accordingly, D’Ambly does

 plausibly plead that he had an attorney-client relationship with CWS. Finally, D’Ambly also

 reiterates his argument that Section 301(b) does not apply because the union is a captive labor

 organization. Plf. Opp. at 19-21. For the same reasons discussed in the MTD Opinion, the Court

 again disagrees. See MTD Opinion at 8-9.

        In sum, because D’Ambly’s allegations for his legal malpractice claim in the SAC are

 unchanged from the FAC, CWS’s motion to dismiss is granted. Count VI of the SAC, D’Ambly’s

 malpractice claim, is dismissed. When dismissing claims pursuant to Rule 12(b)(6), a court

 typically gives a plaintiff leave to amend, provided that any deficiencies could be cured through

 an amended pleading. See Shane v. Fauver, 213 F.3d 113, 116 (3d Cir. 2000). A court, however,

 may deny leave to amend if any amendment would be futile. Adams v. Gould, Inc., 739 F.2d 858,

 864 (3d Cir. 1984). As discussed, despite clearly identifying the shortcomings in the MTD

 Opinion, Plaintiff does not appear to address these issues in the SAC. Instead, D’Ambly’s

 allegations that pertain to the malpractice claim in the SAC are nearly identical to his previous



 3
   In his opposition brief, D’Ambly also discusses the contents of a report from a private
 investigation firm that was retained by D’Ambly’s employer, an alleged agreement involving an
 arrangement between a trustee of D’Ambly’s union and Exoo, and contends that his employer did
 not appropriately protect his safety from the threatening calls. Plf. Opp. at 6-7. These allegations
 are not in the SAC either.
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 allegations in the FAC. While D’Ambly references new facts in his opposition to CWS’s motion

 for sanctions, the allegedly new allegations do not change the critical allegation that the union

 retained CWS to represent D’Ambly in a grievance filed by the union. Accordingly, D’Ambly

 does not provide any information indicating that he will be able to avoid the Section 301(b) bar.

 The Court, therefore, concludes that providing D’Ambly with leave to file another amended

 pleading would be futile. The malpractice claim, therefore, is dismissed with prejudice. See, e.g.,

 TBI Unlimited, LLC v. Clear Cut Lawn Decisions, LLC, No. 12-3355, 2014 WL 3853900, at *9

 (D.N.J. Aug. 5, 2014) (dismissing claims with prejudice where court already provided plaintiff

 with leave to amend and amended pleading “suffer[ed] from many of the same pleading

 deficiencies previously identified by the Court”).

    III.      MOTION FOR SANCTIONS

           Before addressing the merits of a Rule 11 motion for sanctions, a court must ensure that

 the party seeking sanctions complied with the “safe harbor” provision of the rule. Rule 11

 sanctions are only permissible after the party against whom sanctions are sought has notice of the

 alleged violation “and a reasonable opportunity to respond.” Fed. R. Civ. P. 11(c)(1). To that end,

 a motion for sanctions can only be filed 21 days after the party seeking sanctions serves the motion

 on the party against whom sanctions are sought. Fed. R. Civ. P. 11(c)(2). See Petit-Clair v. New

 Jersey, No. 14-7082, 2016 WL 1568282, at *1 (D.N.J. Apr. 18, 2016). If a party fails to comply

 with the safe harbor provision, the motion for sanctions must be denied. Scott v. Bd. of Educ. of

 City of E. Orange, No. 01-4171, 2006 WL 3675278, at *18 (D.N.J. Dec. 12, 2006). Here, CWS

 complied with the safe harbor provision. See D.E. 31, 106.

           Turning to the merits of CWS’s request for sanctions, CWS maintains that the malpractice

 claim, as asserted in the FAC, is patently frivolous and legally unsustainable in light of Carino.



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 CWS continues that the Court should award CWS its reasonable attorneys’ fees and expenses as a

 sanction. CWS Sanctions Br. at 8-12. Rule 11(b) imposes on any party who presents “a pleading,

 motion, or other paper . . . an affirmative duty to conduct a reasonable inquiry into the facts and

 the law before filing, and that the applicable standard is one of reasonableness under the

 circumstances.” Bus. Guides, Inc. v. Chromatic Commc’ns Enters., Inc., 498 U.S. 533, 551 (1991).

 “[R]easonableness [under the circumstances is] defined as an objective knowledge or belief at the

 time of the filing of a challenged paper that the claim was well-grounded in law and fact.” Ford

 Motor Co. v. Summit Motor Prods., Inc., 930 F.2d 277, 289 (3d Cir. 1991) (citations and internal

 quotations omitted). Thus, attorneys are required to conduct a “normally competent level of legal

 research to support the[ir] presentation.” Simmerman v. Corino, 27 F.3d 58, 62 (3d Cir. 1994).

 However, “Rule 11 is intended to impose sanctions ‘only in the exceptional circumstance, where

 a claim or motion is patently unmeritorious or frivolous.’” Ballard v. AT&T Mobility, Inc., No.

 15-8808, 2018 WL 3377713, at * (D.N.J. July 11, 2018) (quoting Doering v. Union Cnty. Bd. of

 Chosen Freeholders, 857 F.2d 191, 194 (3d Cir. 1988)).

        If Rule 11(b) is violated, Rule 11(c) permits the Court to impose sanctions, including

 reasonable attorneys’ fees, expenses, or nonmonetary directives. Fed. R. Civ. P. 11(c). Any

 sanction, however, “must be limited to what suffices to deter repetition of the [sanctionable]

 conduct[.]” Fed. R. Civ. P. 11(c)(4). “Generally, sanctions are prescribed only in the exceptional

 circumstance where a claim or motion is patently unmeritorious or frivolous.” Ford Motor Co.,

 930 F.2d at 289 (internal citations and quotations omitted). Additionally, “the imposition of

 sanctions for a Rule 11 violation is discretionary rather than mandatory.” Grider v. Keystone

 Health Plan Cent., Inc., 580 F.3d 119, 146 n.28 (3d Cir. 2009) (citation omitted). In deciding a

 Rule 11 motion, “[a]ny doubt . . . should be resolved in favor of the party charged with the



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 violation.” Sanders v. Hale Fire Pump Co., No. 87-2468, 1988 WL 58966, at *1 (E.D. Pa. June

 1, 1988) (citing Eavenson, Auchmuty & Greenwald v. Holtzman, 775 F.2d 535, 544 (3d Cir.

 1985)).

           As discussed, D’Ambly’s malpractice claim is contrary to Carino. Moreover, Carino is

 clearly established law, as it was decided by the Third Circuit nearly twenty years ago. CWS first

 advised D’Ambly that his malpractice claim ran afoul of Carino approximately a week after

 D’Ambly filed his initial complaint, in September of 2020. CWS demanded that D’Ambly dismiss

 the Complaint with prejudice as to CWS because, considering Carino, there was no legal basis for

 the claim. See Canning Supp. Cert. at ¶¶ 3-4. D’Ambly’s attorney, Mr. Trainor, acknowledged

 that he researched and analyzed Carino before filing the Complaint, and stated that “[i]n general .

 . . an attorney-client relationship is not formed between a union attorney . . . and, therefore, the

 union attorney is immune from suit in such cases as these.” Canning Cert., Ex. D at 1. Mr. Trainor,

 however, argued that CWS was required to disclose the adverse relationship between D’Ambly

 and his union and recuse itself if there was a conflict of interest. Id. at 1-2. Mr. Trainor continued

 that this conflict of interest and CWS’s failure to disclose the conflict violated certain Rules of

 Professional Conduct (the “RPCs”).4 Id. at 2-3. While Mr. Trainor’s discussion of the RPCs

 seemingly provides support for a malpractice claim, Mr. Trainor’s letter noticeably fails to address

 how D’Ambly could legally bring such a claim in light of the clearly established precedent from

 Carino establishing that an attorney-client relationship did not exist. Notably, Mr. Trainor did not

 argue that Carino is no longer good law or should be changed. In fact, after recognizing the




 4
  An attorney’s failure to comply with the RPCs “can be considered evidence of malpractice” but
 “do not per se give rise to tortious claims.” Baxt v. Liloia, 714 A.2d 271, 276 (N.J. 1998) (quoting
 Albright v. Burns, 503 A.2d 386, 390 (N.J. Super. Ct. App. Div. 1986)).


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  holding of Carino, Mr. Trainor failed to address how it impacted the malpractice claim. Thus,

  shortly after filing the initial Complaint, if not before, D’Ambly was aware that Section 301(b)

  bars malpractice claims against an attorney retained by a union, yet still asserted the claim against

  CWS.

           After receiving CWS’s letter, D’Ambly did not withdraw his malpractice claim and

  reasserted it in the FAC.5 D.E. 66. CWS again advised D’Ambly that by asserting the malpractice

  claim in the FAC, D’Ambly violated Rule 11. Canning Supp. Cert. ¶¶ 11-12, Ex. F. And as

  discussed, CWS also filed a motion to dismiss the malpractice claim in the FAC, D.E. 74, which

  this Court granted, D.E. 97, 98. Again, in dismissing D’Ambly’s malpractice claim, the Court

  concluded that Carino was “directly on point.” MTD Opinion at 6. The Court further explained

  that

                  [a]lthough it appears that any amendment would be futile in light of
                  the Section 301(b) bar, the Court recognizes that D’Ambly raised
                  potential new allegations in his opposition brief. As a result, the
                  Court will provide Plaintiffs with leave to file an amended pleading
                  that remedies the identified deficiencies.

  Id. at 10. Despite Mr. Trainor’s acknowledgement of Carino from the outset of this litigation and

  this Court’s discussion of Carino and the Section 301(b) bar in the MTD Opinion, D’Ambly filed

  a substantively identical malpractice claim in the SAC that failed to address the shortcomings

  identified in the MTD Opinion. SAC ¶¶ 47-76; 196-203.

           Because of Mr. Trainor’s acknowledgment of Carino at the outset of this litigation, his

  failure to meaningfully attempt to distinguish this matter from Carino, and his continued pursuit

  of a seemingly baseless claim despite clear opportunities to amend or withdraw the claim, the

  Court is sensitive to CWS’s arguments.        However, because the Court did not dismiss the



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      In the interim, CWS served D’Ambly with its motion for Rule 11 sanctions. D.E. 31.
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  malpractice claim in the FAC with prejudice, the Court exercises its discretion and declines to

  order sanctions as to the FAC.

     IV.      CONCLUSION

           For the foregoing reasons, Defendant Cohen, Weiss, and Simon LLP’s motion to dismiss

  (D.E. 120) is GRANTED. Count VI of the Second Amended Complaint and Cohen, Weiss, and

  Simon LLP as a Defendant are DISMISSED with prejudice. In addition, Defendant Cohen,

  Weiss, and Simon LLP’s motion for sanctions (D.E. 105) is DENIED. An appropriate Order

  accompanies this Opinion.

  Dated: June 27, 2022

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                                                            John Michael Vazquez, U.S.D.J.




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